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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                              MIDLAND/ODESSA DIVISION

PHILADELPHIA INDEMINTY                             §
INSURANCE COMPANY,                                 §
         Plaintiff,                                §
                                                   §
v.                                                 §                   MO:19-CV-107-DC
                                                   §
THE ODESSA FAMILY YMCA                             §
         Defendant.                                §

     ORDER GRANTING MOTION TO COMPEL COMPLIANCE WITH SUBPOENA

       BEFORE THE COURT is the Motion to Compel Compliance with a Subpoena to

Produce Documents (Motion to Compel) filed by Plaintiff Philadelphia Insurance Company

(Plaintiff) on March 13, 2020. (Doc. 39). After due consideration of the Motion to Compel and

the relevant law, the Court GRANTS the Motion to Compel. Id.

       Plaintiff filed this declaratory judgment action on April 23, 2019, asking the Court to

declare it is not bound by an appraisal award. (Doc. 1). Sam Rogers, who is not a party to this

action, served as the appraiser for Defendant The Odessa Family YMCA (Defendant) in the

appraisal process. (See Doc. 39 at 1). Shortly after filing suit, Plaintiff’s counsel sent a “litigation

hold” letter to Mr. Rogers notifying him of the action and requesting preservation of documents

and information related to the appraisal. (Doc. 39-1 at 4–5). On September 30, 2019, Plaintiff’s

counsel issued a subpoena to Mr. Rogers commanding production of Mr. Rogers’ file concerning

the appraisal including all documents, electronically stored information (ESI), and

communications. See id. at 15–18. The date specified for compliance was October 22, 2019. Id.

at 12. Mr. Rogers was served with the subpoena on October 2, 2019. Id. at 20. Mr. Rogers

provided some documents to Plaintiff’s counsel but also informed her that his practice was to
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“delete all docs, email and reports except for the awards and the final scope” after the appraisal

process was completed. Id. at 22. Plaintiff’s counsel sought additional clarification and recovery

of deleted ESI through a “meet and confer letter” and a follow-up communication. Id. at 27–32.

Despite subsequent discussions between Mr. Rogers’ counsel, and Plaintiff’s counsel, a

resolution was not reached.

       Plaintiff filed the instant Motion to Compel on March 13, 2020. (Doc. 39). No response

was filed, and the time afforded to do so under the Local Rules has expired. See Local Court

Rule CV-7(e)(2). Accordingly, this matter is ready for disposition.

       The Motion to Compel asks the Court to compel Mr. Rogers to state under oath whether

he has produced all non-ESI documents sought by the subpoena, answer the questions posed by

Plaintiff’s counsel in the October 16, 2019 meet and confer letter, and permit, at Plaintiff’s

expense, “a forensic computer expert to search his computers, cellular telephone and voicemail

for any Electronically Stored Information” that is responsive to the subpoena. (See Doc. 39 at 8–

9).

       “Rule 45 explicitly contemplates the use of subpoenas in relation to non-parties.”

Isenberg v. Chase Bank USA, N.A., 661 F. Supp. 2d 627, 629 (N.D. Tex. 2009); see also Fed. R.

Civ. P. 45 (d)(2)(B)(ii). Additionally, Rule 45 provides various mechanisms for parties or third-

parties to seek relief from overly broad or burdensome subpoenas: Rule 45(d)(2)(B) sets out the

procedure to object to commands to produce documents or tangible things or permit inspections;

Rule 45(d)(3) sets out the procedure and grounds for a subpoena to quashed or modified; and

Rule 45(e)(2) sets out the procedure for claiming privileges and withholding privileged

materials. Failure to file timely objections to or a timely motion to quash the subpoena generally




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results in the waiver of any objections. Andra Group, LP v. JDA Software Grp., Inc., 312 F.R.D.

444, 448–49 (N.D. Tex. 2015); Isenberg, 661 F. Supp. 2d at 629.

       The requested materials, including any deleted ESI or partially deleted ESI, are within the

scope of the subpoena. Mr. Rogers did not file a timely objection under Rule 45(d)(2)(B), has not

asserted a privilege, and has not requested that the Court quash or modify the subpoena. Further,

the Court finds that the subpoena is not facially overbroad and the requested materials are within

the scope of discovery set out in Federal Rule of Civil Procedure 26(b)(1).

       Accordingly, it is ORDERED that Plaintiff’s Motion to Compel is GRANTED. (Doc.

39).

       It is further ORDERED that Sam Rogers do the following within thirty days of the

entry of this Order:

       1. State under oath whether he has provided all non-ESI materials that are responsive to

           the subpoena;

       2. Answer the questions posed in Plaintiff’s October 16, 2019 letter;

       3. Permit a forensic computer expert to search his computers, cellular telephone, and

           voicemail for ESI that is responsive to the subpoena.

       All expenses associated with the forensic examination shall be borne by Plaintiff.

       It is so ORDERED.

       SIGNED this 22nd day of April, 2020.




                                             DAVID COUNTS
                                             UNITED STATES DISTRICT JUDGE




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